                                              THE Ciry OF NEWYORK
ZACHARYW. CARTER                            LAW DEPARTMENT                                          Susan P. Scharfstein
Corporation Counsel                              100 CHURCH STREET                     SpecialFederalLitigationDivision
                                                 NEWYORK,NY 10007                                           212-356-2355
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                                                                                                   sscharfsff)Iaw. nyc. sov




                                                                    May 25, 2018



     Honorable Ann M. Donnelly (by ECF)
     United States District Judge
     Eastern District of New York
     225 CadmanPlazaEast
     Brooklyn, NY 11201

                      Re: DiMa 'o et al. v. Cit ofNew York etal., 14 CV 4455 (AMD) (VMS)

     DearJudgeDormelly:

                      I am an attorney in the office ofZachary W. Carter, Corporation Counsel of the City
     of New York, counsel for defendants City of New York and Scott Drummond in the above-
     referenced action. As the Court is aware, this action has settled.

                   I write to request that the Court "So Order" the annexed Stipulation and Order of
     Dismissalthat hasbeen executedby counsel, so that the settlement canbe processed and this matter
     closed.

                       We thank the Court for its consideration of this request.


                                                            Respectfully submitted,

                                                                    /s/.

                                                            Susan P. Scharfstein




     ec:       All Counsel ofRecord (byECF)
UNITED STATES DISTRICT COURT
EASTERNDISTRICTOFNEWYORK


DOMENICA DIMAGGIO,
                                                                  STIPULATION AND
                                                     Plaintiff,   ORDER OF DISMISSAL

                            -against-                             14 CV 4455 (AMD) (VMS)
CITY OFNEWYORK, SCOTTDRUMMOND,Individually,
TARA BANNON-ALBARANO, Individually, and JOHN and
JaneDOE 1 through 10, Individually(the namesJohnandJane
Doebeingfictitious, asthetme names arepresently unknown,

                                                  Defendants.




               WHEREAS,the parties have reached a settlement agreement and now desire to

resolve the remaining issues raised in this litigation, without further proceedings and without

admittinganyfault or liability;

              NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by

andbetweenthe undersigned,that

       1.     The above-referenced action is hereby dismissed with prejudice; and
         2.     Notwithstanding the dismissal of this action in accordance with this agreement,

the District Court shall continue to retain jurisdiction over this action for the purpose of

enforcing the terms of tlie settlement agreement reached between the pailies and set forth in the

StipulationofSettlementexecutedby the parties in this matter.


Dated: New York, N^w York
                        ,
                            2018


BRETT H. KLEIN,ESQ                                   ZACHARYW. CARTER
Attorneyfor Plaintiff                                Corporation Counsel ofthe
305 Broadway, Suite600                                  City of New York
New York, New York .10007                            Attorney for defendantsCity ofNewYork
                                                       and Drummond
                                                     100ChurchStreet, 3rdFloor
                                                     NewYork, New York 10007



By:                                           By:
      Brett H. Klein, Esq.                          ftttrfiditl D^ireiibut'g,Eyq'.     ^^^t^-)
                                                    Assistant CorporationCounsel

 WORTH, LONGWORTH & LONDON
 Attorneysfor defendant Bannon
 111 John Street, Suite 640
 New York, New York 10038




By: _
        itchel! Garber, Esq.

                                                    SO ORDERED-



                                                    HON.A 1 M. DONNELLY
                                                    UNITED STATES DISTRICT JUDGE

                                                    Dated:                      ,
                                                                                     2018
